     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 1 of 13



                    UNITED STATES DISTRICT COURT
                      DISTRICT OF MASSACHUSETTS

EDISON YOBANY BALBIN GAVARIA, )
     Petitioner,              )
                              )
     v.                       )        C.A. No.    06-12142-MLW
                              )
UNITED STATES OF AMERICA,     )
     Respondent.              )

                        MEMORANDUM AND ORDER


WOLF, D.J.                                            February 15, 2010


I.   INTRODUCTION

     On November 20, 2006, pro se petitioner Balbin Gavaria, a

prisoner in custody at the United States Penitentiary Allenwood, in

Montgomery, Pennsylvania, filed a Motion to Vacate, Set Aside, or

Correct Sentence pursuant to 28 U.S.C. §2255 (the "§2255 Motion").

The §2255 motion is essentially unintelligible, as it is simply a

string of legal phrases.    Petitioner structured these allegations

within four different grounds.     Therefore, the court is addressing

what it perceives as the five separate claims for relief contained

in those grounds: (1) lack of jurisdiction; (2) prosecutorial

misconduct; (3)ineffective assistance of counsel; (4) Violation of

right to a speedy trial; and (5) plea under duress.        The court has

construed the petition liberally because the petitioner is pro se.

See Hughes v. Rowe, 449 U.S. 5, 9 (1980); Instituto de Education

Universal Corp. v. U.S. Dept. of Ed., 209 F.3d 18, 23 (1st Cir.

2000).   Nevertheless, for the reasons discussed below, the §2255

                                   1
      Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 2 of 13



motion is being denied without an evidentiary hearing.

II.   PROCEDURAL BACKGROUND

      On November 7, 2001, petitioner (at the time identified as

Hernan Lnu) was charged in a second superseding indictment with

conspiring to possess with intent to distribute, and distribution

of cocaine, in violation of 21 U.S.C. §§846 and 841(b)(1)(A)(ii).

Second Superseding Indictment at 2.          On July 20, 2002, petitioner

was apprehended in Columbia. Aff. of Gavaria in Supp. of Mot. For.

Downward Depart. at 1.         Petitioner was held in Columbia for

thirteen months prior to his extradition to the United States on

August 10, 2003. Id.     On May 23, 2005, petitioner pled guilty to

conspiracy   to   possess   cocaine       with   intent   to   distribute   in

violation of 21 U.S.C. §846.          May 23, 2005 Tr.         at 14-19.    On

November 22, 2005, this court sentenced petitioner to 87 months

imprisonment to be followed by four years of supervised release.

Nov. 22, 2005 Tr. at 36. Upon his release from custody, petitioner

will likely be deported.     Plea Agreement at 2.

      The instant motion to vacate, set aside, or correct sentence

pursuant to 28 U.S.C. §2255 was timely.               Respondent filed an

opposition   to   petitioner's    §2255     and   a   request   for   summary

dismissal.   Petitioner filed a response, opposing the government's

motion for summary dismissal.




                                      2
     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 3 of 13



III. DISCUSSION

     A.   Legal Standard for Summary Dismissal

     As an initial matter, the court finds that this petition may

be dismissed without an evidentiary hearing.          The First Circuit

elaborated the test for granting an evidentiary hearing in a §2255

proceeding in United States v. McGill, 11 F.3d 223 (1st Cir. 1993).

As the First Circuit wrote:

     When a petition is brought under section 2255, the
     petitioner bears the burden of establishing the need for
     an evidentiary hearing. See Mack v. United States, 635
     F.2d 20, 26-27 (1st Cir. 1980); United States v. DiCarlo,
     575 F.2d 952, 954 (1st Cir. 1978), cert. denied, 439 U.S.
     834 (1978). In determining whether the petitioner has
     carried the devoir of persuasion in this respect, the
     court must take many of petitioner's factual averments as
     true, but the court need not give weight to conclusory
     allegations,     self-interested      characterizations,
     discredited inventions, or opprobrious epithets.

     We have distilled these principles into a rule that holds
     a hearing to be unnecessary "when a §2255 motion (1) is
     inadequate on its face, or (2) although facially adequate
     is conclusively refuted as to the alleged facts by the
     files and records of the case." Moran v. Hogan, 494 F.2d
     1220, 1222 (1st Cir. 1974). In other words, a "§2255
     motion may be denied without a hearing as to those
     allegations which, if accepted as true, entitle the
     movant to no relief, or which need not be accepted as
     true because they state conclusions instead of facts,
     contradict the record, or are inherently incredible."
     Shraiar v. United States, 736 F.2d 817, 818 (1st Cir.
     1984)(citations omitted).

Id. at 225-26 (some citations omitted); see also United States v.
Panitz, 907 F.2d 1267 (1st Cir. 1990).

     B.   Ground One: Lack of Jurisdiction

     Petitioner alleges that this court lacked jurisdiction to

adjudicate a criminal prosecution against him.       This allegation is

                                   3
        Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 4 of 13



without merit because "a federal district court plainly possesses

subject-matter     jurisdiction    over   drug   cases."   Prou    v.   United

States, 199 F.3d 37, 45 (1st Cir. 1999) (citing 18 U.S.C. §3231

(conferring original jurisdiction "of all offenses against the laws

of the United States.")).       "This jurisdiction necessarily includes

the imposition of criminal penalties."           Prou, 199 F.3d at 45.

     Petitioner was charged with possession of cocaine with intent

to distribute, and distribution of cocaine in violation of 21

U.S.C. §846 and §841(b)(1)(A)(ii).         Second Superceding Indictment

at 2.     These are drug crimes over which the court had subject-

matter jurisdiction.       See 18 U.S.C. §3231; Prou, 199 F.3d at 45.

Petitioner has presented no facts to support his claim that

jurisdiction was lacking.         Because petitioner's allegations are

conclusory and contradicted by the record, the court does not

accept them as true and no hearing is required on this issue.              See

Shraiar, 736 F.2d at 818.

     C.      Ground Two: Prosecutorial Misconduct

     Petitioner alleges prosecutorial misconduct, and seems to

argue that a conspiracy to detain him "by pretense" existed between

the prosecution and petitioner's defense attorney.                Determining

whether there is prosecutorial misconduct necessitates a fact

specific analysis.      See, e.g., United States v. Ayala-Garcia, 574

F.3d 5, 8 (1st Cir. 2009).        While making a general allegation of

misconduct, petitioner has presented no facts upon which the court


                                      4
       Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 5 of 13



can determine whether if proven, petitioner would be entitled to

relief.     See Nieves v. United States, 382 F.Supp.2d 237, 240 (D.

Mass 2005). Because petitioner's allegations are conclusory the

court does not accept them as true.          See Shrariar, 736 F.2d at 818.

Moreover, the allegations are inconsistent with the record in which

there is no evidence or even suggestion of collusion between the

prosecutor and the petitioner's attorney.                See generally May 23,

2005    Transcript   ("Tr.");    Nov.       22,   2005    Transcript   ("Tr.").

Therefore, an evidentiary hearing on this issue is not necessary.

See Shrariar, 736 F.2d at 818.

       D.   Ground Three: Ineffective Assistance of Counsel and Sixth

            Amendment Violation

       In Ground Three, petitioner makes two separate allegations,

first that he received ineffective assistance of counsel and second

that his Sixth Amendment Right to a jury trial was violated.

            1.    Ineffective Assistance of Counsel

       To succeed on an a claim of ineffective assistance of counsel,

a petitioner must demonstrate: (1) that counsel's performance fell

below an objective standard of reasonable effectiveness; and (2)

that counsel's deficient performance was so prejudicial as to

undermine confidence in the outcome of the trial.               See Strickland

v. Washington, 466 U.S. 688, 689-99 (1984); Argencourt v. United

States, 78 F.3d 14, 16 (1st Cir. 1996).              This two-prong inquiry

also applies to cases in which the defendant pled guilty.                  See


                                        5
     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 6 of 13



Panzardi-Alvarez v. United States, 879 F.2d 975, 982 (1st Cir.

1989).

     When reviewing counsel's performance, "[j]udicial scrutiny of

counsel's performance must be highly deferential, [and] every

effort [should] be made to eliminate the distorting effects of

hindsight."     Strickland, 466 U.S. at 689.         Moreover, the court

"must indulge a strong presumption that counsel's conduct falls

within the wide range of reasonable professional assistance; that

is, the defendant must overcome the presumption that, under the

circumstances, the challenged action might be considered sound

trial strategy."     Id.

     The "prejudice" element of an ineffective assistance claim

presents another "high hurdle." See Argencourt, 78 F.3d at 16. To

show prejudice, a claimant must affirmatively prove "a reasonable

probability that, but for counsel's unprofessional errors, the

result of the proceeding would have been different.           A reasonable

probability is a probability sufficient to undermine confidence in

the outcome."     Strickland, 466 U.S. at 694.

     Petitioner has not described any alleged instances where his

attorney's     performance   fell   bellow   a   reasonable   standard   of

effectiveness and where this deficient performance prejudiced him

in some way.    See Strickland, 466 U.S. at 694; see also Bousley v.

Brooks, 97 F.3d 284, 288 (8th Cir. 1996).         There is no indication

on the record that petitioner's attorney was ineffective.                See


                                     6
     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 7 of 13



generally May 23, 2005 Tr; Nov. 22, 2005 Tr.        In fact, the record

indicates the contrary. See Bousley, 97 F.3d at 288. Petitioner's

attorney made numerous objections to the Pre-Sentencing Report,

wrote a lengthy sentencing memorandum asserting the petitioner's

interest in obtaining the benefit of the "safety valve" provided by

U.S.S.G. §5C1.2, and arguing for a downward departure or a variance

based 18 U.S.C. §3553 factors.     See Def. Sent. Mem. at 2,4,7; Nov.

22, 2005 Tr. at 20.     He also was well-prepared at petitioner's

sentencing hearing.    See Nov. 22, 2005 Tr. at 20.        Additionally,

the petitioner stated on the record that he was satisfied with his

attorney.    See May 23, 2005 Tr. at 10.          The Rule 11 hearing

contained the following colloquy:

            THE COURT: I think I asked you this before. Are
            you fully satisfied with [Mr.Cunha's] work as your
            lawyer in this case?

            THE WITNESS: Yes, sir.

May 23, 2005 Tr. at 10. Such solemn declarations in open court

carry a strong presumption of truth.       See Blackledge v. Allison,

431 U.S. 63, 73-74 (1977).

     Because    petitioner's     allegations     are   conclusory      and

contradicted by the record, the court does not accept them as true.

See Panzardi-Alvarez, 879 F.2d at 982; Shraiar, 736 F.2d at 818.

Therefore, a hearing on this issue is not necessary.        See Shraiar,

736 F.2d at 818.




                                     7
          Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 8 of 13



               2.     Violation of Sixth Amendment Right to Speedy Trial

          The petitioner also argues that his Sixth Amendment right to

a speedy trial was violated.           However, petitioner was not entitled

to    a    speedy    trial   because   he       waived   his   right   to   a   trial.

"Criminal defendants typically may waive their rights, as long as

they do so voluntarily and with knowledge of the general nature and

consequences of the waiver." United States v. Teeter, 257 F.3d 14,

21 (1st Cir. 2001); see Adams v. United States, 317 U.S. 269, 274

(1942) (discussing waiver of right to jury trial). "Indeed, guilty

pleas are a staple of our criminal justice system - and a guilty

plea inevitably entails a waiver of numerous rights ... a waiver of

the right to a jury trial is a good example."                  Teeter, 257 F.3d at

21.       For such a waiver to be valid, the plea agreement should

contain a clear statement elucidating the waiver and deliniating

its scope, and the court's interrogation at the plea hearing should

suffice to ensure that the defendant freely and intelligently

agreed to waive his rights. See United States v. Figueroa-De-La-

Cruz, 128 Fed. App'x.775, 776 (1st Cir. 2005).

          Here, by pleading guilty, petitioner waived his right to a

jury trial.         See Teeter, 257 F.3d at 21.          The record indicates that

petitioner's decisions were knowing and voluntary.                     See generally

May 23, 2005 Tr; Nov. 22, 2005 Tr.                While the plea agreement does

not expressly state petitioner's waiver of a jury trial, the waiver

can be inferred petitioner's adoption of the "Acknowledgment of


                                            8
     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 9 of 13



Plea Agreement." Plea Agreement at 8.         This section of the Plea

Agreement    presented   two    mutually   exclusive   options      for   the

petitioner, a trial or pleading guilty.             Plea Agreement at 8.

Furthermore, the Rule 11 hearing included the following:

            THE COURT: Do you understand that if I accept your
            plea of guilty, you'll be giving up your right to a
            trial, and there will be no trial?

            THE WITNESS: Yes, sir.

May 23, 2005 Tr. at 12.     Therefore, petitioner knew he was giving

up his right to a speedy trial by pleading guilty and did so

knowing and voluntarily.       See Blackledge, 431 U.S. at 73-74.

     Since petitioner's conclusory allegation is refuted by the

record, petitioner is not entitled to an evidentiary hearing on the

third ground of his petition.        See Figueroa-De-La-Cruz, 128 Fed.

App'x at 776; Shraiar, 736 F.2d at 818.

     E.     Ground Four: Plea Under Duress

     Petitioner    claims   that   he    admitted   guilt   under   duress.

"[W]hen the judgment of conviction upon a guilty plea has become

final and the offender seeks to reopen the proceeding, the inquiry

is ordinarily confined to whether the underlying plea was both

counseled and voluntary.       If the answer is in the affirmative then

the conviction and the plea, as a general rule, foreclose the

collateral attack."      United States v. Broce, 488 U.S. 563, 569

(1989).     When determining the voluntariness of a guilty plea the

facts surrounding the plea bargain are subject to a deferential


                                     9
     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 10 of 13



presumption of correctness.     See Lesko, 925 F.2d at 1537.

     Petitioner's allegations that he pled guilty under duress are

contradicted by the record.      See generally May 23, 2005 Tr; Nov.

22, 2005 Tr.   In the "Acknowledgment of the Plea Agreement" signed

by petitioner, he adopted as true the statement, "I understand the

crimes to which I have agreed to plead guilty.... I am entering

into this agreement freely, voluntarily, and knowingly because I am

guilty of the offenses to which I am pleading guilty and believe

the agreement is in my best interest." Plea Agreement at 8.             At

both the Rule 11 hearing and at Sentencing, petitioner admitted he

committed the crime with which he was charged and stated that he

was not forced to plead guilty.         During the Rule 11 hearing, the

following exchange took place:

          THE COURT: Has anybody threatened you or tried to
          force you to plead guilty?

          THE WITNESS: No, Sir.

          ....

          THE COURT: And now knowing what I've told you about
          the law and knowing the charge, did you commit the
          crime charged in count 1?

          THE WITNESS: Yes, your Honor.

          ....

          THE COURT: And how do you wish to plead to the one
          count against you, guilty or not guilty?

          THE WITNESS: Guilty.

May 23, 2005 Tr. at 6, 13-14, 19; see Blackledge, 431 U.S. 73-74.


                                   10
      Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 11 of 13



The petitioner again admitted his guilt at the sentencing hearing

when he stated:

             THE DEFENDANT: Your Honor, I want to say that I am
             very sorry for the crime I committed.      For the
             people that I have harmed through my actions.

Nov. 22, 2005 Tr. at 31; see Blackledge, 431 U.S. 73-74.                  Since

petitioner        presents   only    a   conclusory   allegation,   and    the

allegation is once again contradicted by the record, the court does

not accept the allegation as true and no evidentiary hearing is

necessary.    See Shraiar, 736 F.2d at 818.

             F.     Conclusion

      Petitioner has not met his burden of establishing that an

evidentiary hearing is necessary or that he is entitled to relief

under §2255.         See McGill, 11 F.3d 233; Mack, 635 F.2d at 27.

Therefore, the court is granting respondent's motion for summary

dismissal.

VI.   CERTIFICATE OF APPEALABILITY

      Pursuant the Rules Governing Section 2255 Proceedings the

court must "issue or deny a certificate of appealability [("COA")]

when it enters a final order adverse to the party."           Rule 11.     The

right of appeal from denial of a writ of habeas corpus is governed

by the COA requirements of the Antiterrorism and Effective Death

Penalty Act of 1996, Pub. L. No. 104-132, 110 Stat. 1214 (1996)

("AEDPA").    See     28 U.S.C. §2253; Petrocelli v. Agelone, 248 F.3d

877, 883 (9th Cir. 2001).           A COA will issue "only if the applicant


                                         11
       Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 12 of 13



has made a substantial showing of the denial of a constitutional

right." 28 U.S.C. §2253(c)(2); see Miller-El v. Cockrell, 537 U.S.

322, 323 (2003).        The applicant "must demonstrate that reasonable

jurists    would   find     the    district   court's    assessment     of   the

constitutional claims debatable or wrong."              Id. at 324.     A claim

"can be debatable even though every jurist of reason might agree,

after the COA has been granted and the case has received full

consideration,     that     the    petition   will    not   prevail."        Id.

Additionally, the "issuance of a COA must not be pro forma or a

matter of course" because by enacting AEDPA "Congress confirmed the

necessity and the requirement of differential treatment for those

appeals deserving of attention from those that plainly do not."

Id. at 337.

       The instant appeal can be disposed of properly by looking at

the    soundness   of    the   court's    decision.      Because   petitioner

presented only conclusory allegations, which the court had to

discern from an incomprehensible motion, and those allegations are

contradicted by the record, a reasonable jurist would not find the

court's assessment of these constitutional claims in this case

debatable. See United States v. Wacker, 173 F.3d 865 (Table) (10th

Cir.    1999)   (holding    that    petitioner's     allegations   containing

conclusory allegations or incomprehensible arguments did not show

a denial of any constitutional right and so denying the COA

request); United States v. Pena-Baez, 09-3262, 2009 WL 5126127 *1


                                         12
     Case 1:01-cr-10151-MLW Document 730 Filed 02/15/10 Page 13 of 13



(10th Cir. Dec. 30, 1999) (denying relief on §2255 because of

petitioner's conclusory allegations COA was denied).              Since a

substantial showing of a denial of a constitutional right has not

been demonstrated, a COA is not being granted.        See Miller-El, 537

U.S. at 323.

VII. ORDER

     Accordingly, it is hereby ORDERED that:

     1. The Government's Opposition To Petitioner's §2255 Motion

and Request for Summary Dismissal Or, In The Alternative, Motion

for Order Regarding Petitioner's Claim of Ineffective Assistance of

Counsel (Docket No. 6) is ALLOWED.

     2.   The Motion Under 28 U.S.C. §2255 to Vacate, Set Aside, Or

Correct Sentence (Docket No. 1) is DENIED.

     3.   A Certificate of Appealability is DENIED.




                                              /s/ Mark L. Wolf
                                          UNITED STATES DISTRICT JUDGE




                                   13
